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       Contempt of Court in case 1 20-cv-06516-VM
       joshua montgomery <da1ofgreatness@yahoo.com>
       Wed 10/28/2020 4 31 PM
       To: Chambers NYSD Marrero <ChambersNYSDMarrero@nysd.uscourts.gov>                                        10/28/2020
       CAUTION - EXTERNAL:

       To the Honorable Judge Marrero,

                 I have contacted your office several times to notify you that the USPS Louisiana District
       is still in violation of your 09-28-2020 order from case 1:20-cv-06516-VM.

               In Lafayette, LA 2 DBCSes (the machines at are used to process first class letters,
       certified mail, and most mail ballots) were disconnected whereas only 1 of those 2 DBCSes
       (DBCS #5) have been brought back into service since your order. New Orleans, LA mail
       processing facility had 4 DBCSes disconnected whereas only 2 DBCSes have been brought
       back into service since your ruling. Baton Rouge, LA mail processing facility had 2 DBCSes
       disconnected whereas no DBCSes have been brought back online since your decision.
       Shreveport, LA mail processing facility had 2 DBCSes disconnected whereas only 1 of those
       DBCSes have been brought back only into service since your ruling.

               As you are well aware this limits the amount of ballots to be processed, counted in a
       timely fashion, and may affect the outcomes of several races this election season. As all
       Judge's orders, it needs to be enforced, the USPS needs to be held to the letter of the law and
       forced to fulfill your ruling. There have been several national injunctions, District Judge McHugh
       (2:20-cv-04096-GAM), District Judge Sullivan (1:20-cv-02340-EGS), and District Chief Judge
       Bastian (1:20-CV-03127-SAB) addressing this issue. This is contempt of court. If your office
       needs additional input, my contact info is below. With the increase of participation in this 2020
       election, the USPS is doing a disservice to the public. Democracy in Louisiana should be no
       lesser than anywhere in the United States of America.

       Thank you,                                                 Defendants are directed to respond by
                                                                  October 29, 2020 at 5:00 p.m. to the
       Joshua Montgomery
                                                                  matter set forth above.
       APWU Lafayette, LA Local #2803 President
       337-288-9521
       APWU2803@gmail.com                                         10/28/2020


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